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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

CYNTHIA OLINGER VANOVER,                              )
                                                      )
                                   Plaintiff,         )
                                                      )
                          v.                          )    Case No. 1:20-cv-00266-TWP-DML
                                                      )
CITY OF SHELBYVILLE, and                              )
UNKNOWN OFFICERS,                                     )
                                                      )
                                   Defendants.        )

          ENTRY GRANTING MOTION TO PROCEED IN FORMA PAUPERIS,
                  SCREENING AND ORDER TO SHOW CAUSE

       This matter is before the Court on pro se Plaintiff Cynthia Olinger Vanover’s (“Vanover”)

Request to Proceed in District Court Without Prepaying the Filing Fee (Filing No. 5). Because she

is allowed to proceed in forma pauperis, this action is also subject to screening pursuant to 28

U.S.C. § 1915(e)(2)(B).

                                         I. DISCUSSION

A. Filing Fee

       Vanover’s motion for leave to proceed in forma pauperis, without prepaying fees or costs

(Filing No. 5) is granted. While in forma pauperis status allows a plaintiff to proceed without pre-

payment of the filing fee, the plaintiff remains liable for the full fees. See Robbins v. Switzer, 104

F.3d 895, 898 (7th Cir. 1997) (in forma pauperis litigants remain liable for the filing fee; “all [28

U.S.C.] § 1915(a) does for any litigant is excuse the pre-payment of fees”). The Court does not

have the authority to waive the filing fee, and it remains due despite Vanover’s in forma pauperis

status. Fiorito v. Samuels, 2016 U.S. Dist. LEXIS 84869, at *5 (C.D. Ill. June 30, 2016) (“[c]ourt

does not have the authority to waive a filing fee”); McDaniel v. Meisner, 2015 U.S. Dist. LEXIS
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106067, at *12 (E.D. Wis. Aug. 12, 2015) (same). The filing fee for in forma pauperis litigants is

$350.00. No payment is due currently; however, the $350.00 balance remains owing.

B. Screening

        District courts have an obligation under 28 U.S.C. § 1915(e)(2)(B) to screen complaints

before service on the defendant and must dismiss the complaint if it is frivolous or malicious, fails

to state a claim for relief, or seeks monetary relief against a defendant who is immune from such

relief. Dismissal under the in forma pauperis statute is an exercise of the court’s discretion. Denton

v. Hernandez, 504 U.S. 25, 34 (1992). In determining whether the complaint states a claim, the

court applies the same standard as when addressing a motion to dismiss under Federal Rule of

Civil Procedure 12(b)(6). See Lagerstrom v. Kingston, 463 F.3d 621, 624 (7th Cir. 2006). To

survive dismissal under federal pleading standards,

        [the] complaint must contain sufficient factual matter, accepted as true, to state a
        claim to relief that is plausible on its face. A claim has facial plausibility when the
        plaintiff pleads factual content that allows the court to draw the reasonable
        inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Thus, a “plaintiff must do better than putting a few

words on paper that, in the hands of an imaginative reader, might suggest that something has

happened to her that might be redressed by the law.” Swanson v. Citibank, N.A., 614 F.3d 400, 403

(7th Cir. 2010) (emphasis in original).

C. The Complaint

        In this civil action, pro se plaintiff Vanover asserts general grievances against Defendants

City of Shelbyville and Unknown Officers concerning various federal statutes and constitutional

rights. Vanover asserts the Defendants have a pattern and practice of hiring unqualified police

officers, failing to train police officers, failing to investigate reports of criminal activity, retaliating

against complainants, using excessive force, wrongfully arresting citizens, and other general police



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misconduct (Filing No. 1). Vanover asks for $800,000,000.00 in compensatory damages as well

as additional punitive damages.

D. Dismissal of Complaint

          As written in the Complaint, this Court does not have jurisdiction to adjudicate the general

grievances that Vanover has presented. “Courts . . . have an independent obligation to determine

whether subject-matter jurisdiction exists, even in the absence of a challenge from any party.”

Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006). A court “must raise the issue sua sponte when

it appears that subject matter jurisdiction is lacking.” Buethe v. Britt Airlines, 749 F.2d 1235, 1238

(7th Cir. 1984); see also Evergreen Square of Cudahy v. Wis. Hous. & Econ. Dev. Auth., 776 F.3d

463, 465 (7th Cir. 2015) (“federal courts are obligated to inquire into the existence of jurisdiction

sua sponte”). “When a federal court concludes that it lacks subject-matter jurisdiction, the court

must dismiss the complaint in its entirety.” Arbaugh, 546 U.S. at 514, quoted in Miller v. Herman,

600 F.3d 726, 730 (7th Cir. 2010); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at

any time that it lacks subject-matter jurisdiction, the court must dismiss the action.”).

          “From Article III’s limitation of the judicial power to resolving ‘Cases’ and

‘Controversies,’ and the separation-of-powers principles underlying that limitation, [the Supreme

Court] ha[s] deduced a set of requirements that together make up the ‘irreducible constitutional

minimum of standing.’” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 125

(2014) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). “The doctrine of

standing asks whether a litigant is entitled to have a federal court resolve his grievance. This

inquiry     involves    both   constitutional   limitations   on   federal-court   jurisdiction   and

prudential limitations on its exercise.” Kowalski v. Tesmer, 543 U.S. 125, 128 (2004) (citation and

quotation marks omitted). Where a “plaintiff lacks standing to bring suit against the defendant, []




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the federal court lacks subject-matter jurisdiction to adjudicate the matter.” Johnson v. Merrill

Lynch, Pierce, Fenner & Smith, Inc., 719 F.3d 601, 602 (7th Cir. 2013).

       Under the case and controversy requirement for standing, a plaintiff must show: (1) an

“injury in fact” that is both “(a) concrete and particularized,” and “(b) actual or imminent, not

‘conjectural’ or ‘hypothetical;’” (2) “a causal connection between the injury and the conduct

complained of,” that is, “the injury has to be fairly traceable to the challenged action of the

defendant;” and (3) it is likely that a favorable decision will redress the injury. Lujan, 504 U.S. at

560–61. “A generally available grievance about government—claiming only harm to . . . every

citizen’s interest in proper application of the Constitution and laws is not considered an injury for

standing purposes.” Freedom from Religion Found., Inc. v. Lew, 773 F.3d 815, 819 (7th Cir. 2014)

(internal citation and quotation marks omitted); see also Lujan, 504 U.S. 555, 573–74 (“a plaintiff

raising only a generally available grievance about government -- claiming only harm to his and

every citizen’s interest in proper application of the Constitution and laws . . . -- does not state an

Article III case or controversy”). Vanover’s Complaint has presented only generally available

grievances about government. Accordingly, the Complaint is subject to dismissal for lack of

subject-matter jurisdiction because of lack of standing.

E. Opportunity to Show Cause

       Vanover shall have through Friday, April 17, 2020, by which to show cause why judgment

consistent with this Entry should not issue. See Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014,

1022 (7th Cir. 2013) (“Without at least an opportunity to amend or to respond to an order to show

cause, an [in forma pauperis] applicant’s case could be tossed out of court without giving the

applicant any timely notice or opportunity to be heard to clarify, contest, or simply request leave

to amend.”).




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         If Vanover elects to file an amended complaint, she should conform to the following

guidelines: (a) the amended complaint shall comply with the requirement of Rule 8(a)(2) of the

Federal Rules of Civil Procedure that pleadings contain “a short and plain statement of the claim

showing that the pleader is entitled to relief . . . ,” which is sufficient to provide the defendants

with “fair notice” of the claim and its basis; Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per

curiam) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) and quoting Fed. R. Civ. P.

8(a)(2)); (b) the amended complaint must include a demand for the relief sought; (c) the amended

complaint must identify what legal injury Vanover claims to have suffered and what persons are

responsible for each such legal injury; and (d) the amended complaint must include the case

number referenced in the caption of this Entry.

                                        II. CONCLUSION

         For the reasons stated above, Vanover’s Request to Proceed in District Court Without

Prepaying the Filing Fee (Filing No. 5) is GRANTED. Having screened the Complaint, the Court

finds it is subject to dismissal for lack of standing and lack of subject-matter jurisdiction. Vanover

is granted leave to file an amended complaint by no later than Friday, April 17, 2020. If no

amended complaint is filed by that date, this action will be dismissed for the reasons set forth

above.

         SO ORDERED.


         Date:   3/17/2020


Distribution:

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